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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 ARCH    INSURANCE   COMPANY,                   §
 INDIVIDUALLY AND AS SUBROGEE                   §
 AND INDEMNITOR OF LINBECK                      §
 GROUP, LLC,                                    §
                                                §
                Plaintiff,                      §
                                                §
 VS.                                            §         Cause No. ___________
                                                §
 NATIONAL FIRE INSURANCE                        §
 COMPANY OF HARTFORD,                           §
 VALLEY FORGE INSURANCE                         §
 COMPANY, CONTINENTAL                           §
 INSURANCE COMPANY, and                         §
 CONTINENTAL CASUALTY                           §
 COMPANY                                        §
                                                §
                Defendants.                     §


              ARCH INSURANCE COMPANY’S ORIGINAL COMPLAINT



        Arch Insurance Company, individually and as subrogee and indemnitor of Linbeck

Group, LLC, (“Arch”), files this Complaint against National Fire Insurance Company of

Hartford (“National Fire”), Valley Forge Insurance Company (“Valley Forge”), Continental

Insurance Company (“CIC”), and Continental Casualty Company (“CCC”) (collectively

“CNA”), stating as follows:

                                              PARTIES

        1.     Plaintiff, Arch Insurance Company, is a Missouri corporation, with its principal

place of business in New York. Arch is the insurer for Linbeck Group, LLC (“Linbeck”), who is

authorized to do business in the State of Texas. Therefore, Arch, having made payment on a



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claim for which CNA owed primary coverage, brings this lawsuit on its own behalf and as

subrogee and indemnitor of its insured, Linbeck, under its contractual and equitable rights of

subrogation and indemnification.

         2.    National Fire is a corporation incorporated under the laws of Illinois with its

principal place of business in Illinois and is doing business in Texas. National Fire may be

served by serving CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

         3.    Valley Forge is a corporation incorporated under the laws of Pennsylvania with its

principal place of business in Illinois and is doing business in Texas. Valley Forge may be served

by serving CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

         4.    CIC is a corporation incorporated under the laws of Pennsylvania with its

principal place of business in Illinois and is doing business in Texas. CIC may be served by

serving CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

         5.    CCC is a corporation incorporated under the laws of Illinois with its principal

place of business in Illinois and is doing business in Texas. CCC may be served by serving CT

Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

                                JURISDICTION AND VENUE

         6.    This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a) (1) because the parties

are citizens of different states and the amount in controversy exceeds $75,000.00, exclusive of

interest and costs.

         7.    Venue is proper in this District because a substantial part of the events and acts or

omissions giving rise to these claims occurred in this District within the meaning of 28 U.S.C. §

1391.




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                         FACTS GIVING RISE TO CONTROVERSY

A.     THE PROJECT, THE ROOFING DEFECTS, AND THE SETTLEMENT

       8.      Linbeck, as general contractor, entered into a contract with the owner, the Dallas

Center for the Performing Arts Foundation, Inc. (“DCPAF”), for the construction of the Dallas

Center for the Performing Arts Margot and Bill Winspear Opera House, 2403 Flora Street,

Dallas, Texas 75201 (the “Project” or the “PAC”). Linbeck entered into a written subcontract

agreement with Anchor Roofing Systems, Ltd. (“Anchor”) to perform roofing work on the

Project.

       9.      As part of its work, Anchor purchased roofing membrane products from Soprema,

Inc. (“Soprema”). Soprema customized the roofing membrane products for the Project, made site

visits during the installation of the roof, inspected the roof after installation, and issued Anchor a

punch list for corrective action.

       10.     The construction of the PAC was completed in 2009, with the grand opening

occurring on October 12th. Thereafter, the PAC began experiencing significant blistering to the

roofing membrane products customized and supplied by Soprema. The blisters number in the

hundreds to thousands and cover the entirety of the PAC’s roof.

       11.     DCPAF placed Linbeck on notice of the blistering, and, in conjunction with the

DCPAF, Linbeck began coordinating expert analysis of the roofing system with Anchor and

Soprema to determine the root cause(s) and significance of the blistering. Overall, expert

analysis concluded that the roofing system must be replaced in its entirety and pinpointed

Anchor’s workmanship and Soprema’s defective products as the cause of the roofing defects.

Specifically, Anchor performed improper adhesion and waterproofing services while




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constructing the roof and Soprema provided defective products susceptible to blow-off,

excessive heat absorption, and moisture intrusion.

       12.     Linbeck did not perform construction of the PAC’s roofing system. However,

because the roofing system presented risks to the community and to the continued operation of

the PAC, and due to its contractual role as general contractor on the Project, Linbeck entered into

a pre-litigation settlement agreement with the DCPAF, funded by Plaintiff, which allowed the

DCPAF to make the necessary repairs to the PAC’s roof (the “Settlement”).

B.     LINBECK’S STATUS AS AN ADDITIONAL INSURED UNDER THE CNA POLICIES

       13.     The subcontract between Linbeck and Anchor requires Anchor to add Linbeck as

an additional insured on Anchor’s liability insurance policies, including commercial general

liability and excess/umbrella liability policies. The insurance requirements in the subcontract

also require the insurance policies provided by Anchor to be primary and non-contributory with

any insurance carried by DCPAF, DCPAF’s Lender(s), and/or Linbeck.

       14.     Anchor fulfilled its obligation to provide that insurance under its subcontract by

having Linbeck named as an additional insured on its policies, including National Fire CGL

Policy No. 4016980483 for the period of October 1, 2009, to October 1, 2011; Valley Forge

CGL Policy No. 4016980483 for the period of October 1, 2011, to October 1, 2013; CIC CGL

Policy No. 4016980483 for the period of October 1, 2013, to October 1, 2014; and CCC CGL

Policy No. 4016980483 for the period of October 1, 2014, to October 1, 2017. Pursuant to the

terms of each of those policies, Linbeck was included as an additional insured with respect to

liability arising out of Anchor’s work for Linbeck. The broad grant of coverage is subject to no

other limitations set out in the endorsement, and no other provisions of the CNA policies apply




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to deny coverage for the property damage that is alleged to have arisen out of the work of

Anchor and Anchor’s subcontractors for Linbeck.

       15.     At the same time, Linbeck’s own CGL policies in effect over the same period of

time and issued by Arch Insurance Company provide that their coverage is excess to any other

primary insurance available to Linbeck for which Linbeck has been added as an additional

insured by attachment of an endorsement. In other words, they are excess to the CGL policies

issued by CNA to Anchor.

       16.     Linbeck duly tendered its defense against DCPAF’s claim to CNA. Despite its

obligation to provide Linbeck with a full and complete defense and indemnity as Linbeck’s

primary insurer under Texas law, CNA denied a defense and indemnity to Linbeck. Linbeck

responded to CNA’s denial of a defense in writing, explaining why there was additional insured

coverage under the CNA policy, and gave CNA an opportunity to participate in the mediation

and settlement of DCPAF’s claims. CNA again refused to fulfill its contractual obligations.

       17.     As a result of CNA’s breach of its obligations owed to Linbeck, Arch stepped in

to defend and indemnify Linbeck, and was damaged in the amount of the defense costs that CNA

failed and refused to pay, the amount of the Settlement, and attorney’s fees incurred in pursuing

insurance coverage from CNA.

              FIRST CAUSE OF ACTION – DECLARATORY JUDGMENT

       18.     Arch re-alleges and incorporates by reference the allegations contained in

Paragraphs 1 through 17 above.

       19.     This is an action for declaratory judgment pursuant to 28 U.S.C. §§ 2201 and

2202, the federal Declaratory Judgment Act.




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        20.     An actual controversy of a judicial nature exists between Arch and CNA

involving the rights and obligations under the CNA policies relative to the claims made against

Linbeck related to the Project. The resolution of this controversy is dependent upon an analysis

of the CNA policies and the facts and circumstances surrounding the claims against Linbeck.

        21.     Linbeck has complied with all conditions precedent to coverage under the policies

issued by CNA.

        22.     Arch is entitled to a declaration from this Court that CNA owed Linbeck a

defense and indemnity against the claims asserted against Linbeck related to the Project. The

claims made against Linbeck are within the coverage of the CNA policies. Arch is also entitled

to a declaration of this Court that CNA is obligated to pay Arch’s attorney’s fees and costs

incurred in this action.

                     SECOND CAUSE OF ACTION – CONTRIBUTION

        23.     Arch re-alleges and incorporates by reference the allegations contained in

Paragraphs 1 through 22 above.

        24.     CNA owed a contractual obligation to fully defend and indemnify Linbeck as its

primary insurer against DCPAF’s claims related to the Project.

        25.     Arch also owed a contractual obligation to fully defend and indemnify Linbeck.

However, that obligation was excess to CNA’s primary obligation to defend and indemnify

Linbeck.

        26.     Therefore, in fully defending Linbeck and fully funding the Settlement, Arch

made a compulsory payment of more than its fair share of the burden to defend and indemnify

Linbeck.




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       27.     As a result, Arch is entitled to recover directly from CNA: (1) the full cost of

defending Linbeck against DCPAF’s claims; and (2) the amount of the Settlement payment, up

to the limits of the applicable CNA policy.

             THIRD CAUSE OF ACTION – CONTRACTUAL SUBROGATION

       28.     Linbeck re-alleges and incorporates by reference the allegations contained in

Paragraphs 1 through 27 above.

       29.     The Arch policy gives Arch a contractual right to pursue reimbursement from

third parties in exchange for payment of a loss. Arch fully defended and indemnified Linbeck

and now stands in its shoes as to Linbeck’s contractual rights under the CNA policies.

       30.     Anchor and Linbeck, as additional insured, complied with all conditions

precedent to coverage under the CNA policies.

       31.     Despite its obligations under its policies, CNA failed and refused to fulfill its

obligations to defend and indemnify Linbeck against the claims asserted by DCPAF against

Linbeck arising out of Anchor’s roofing work and Soprema’s defective products.

       32.     The failure of CNA to fulfill its contractual obligations constitutes a material

breach of the CNA policy contracts, which has caused damage to Linbeck, for which Arch fully

reimbursed Linbeck.

       33.     As a result of CNA’s breach of its policy contracts, and Arch’s payment in full of

Linbeck’s loss, Arch is entitled to recover from CNA, as subrogee of Linbeck, all damages,

including defense costs incurred in defending against DCPAF’s claims as a result of the property

damage allegedly caused by the defects and deficiencies in Anchor’s work and Soprema’s

products, together with the amount of the Settlement payment up to the limits of the applicable




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CNA policy. In addition, CNA is obligated to reimburse Arch for all attorney’s fees incurred in

this action and in pursuing coverage from CNA.

             FOURTH CAUSE OF ACTION – EQUITABLE SUBROGATION

       34.     Linbeck re-alleges and incorporates by reference the allegations set out in

Paragraphs 1 through 33 above.

       35.     Arch is equitably subrogated to the rights of Linbeck because Arch, not acting

voluntarily, paid a debt on Linbeck’s behalf for which CNA was primarily liable.

       36.     Anchor and Linbeck, as additional insured, complied with all conditions

precedent to coverage under the CNA policies.

       37.     Despite its obligations under its policies, CNA failed and refused to fulfill its

obligations to defend and indemnify Linbeck against the claims asserted by DCPAF against

Linbeck arising out of Anchor’s roofing work and Soprema’s defective products.

       38.     The failure of CNA to fulfill its contractual obligations constitutes a material

breach of the CNA policy contracts, which has caused damage to Linbeck, for which Arch fully

reimbursed Linbeck.

       39.     As a result of CNA’s breach of its policy contracts, and Arch’s payment in full of

Linbeck’s loss for which CNA was primarily liable, Arch is entitled to recover from CNA, as

subrogee of Linbeck, all damages, including defense costs incurred in defending against

DCPAF’s claims as a result of the property damage allegedly caused by the defects and

deficiencies in Anchor’s work and Soprema’s products, together with the amount of the

Settlement payment up to the limits of the applicable CNA policy. In addition, CNA is obligated

to reimburse Arch for all attorney’s fees incurred in this action and in pursuing coverage from

CNA.



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       THEREFORE, Arch asks that it be granted the following relief from this Court:

       1.      Declaratory judgment that CNA owed Linbeck a defense and indemnity against

               the claims asserted against Linbeck related to the Project.

       2.      Judgment awarding Arch all damages it has suffered as a result of CNA’s breach

               of the insurance policy contracts.

       3.      Judgment that Arch is entitled to recover its costs and expenses, including

               attorney’s fees incurred in prosecuting this action and in pursuing a full defense

               and indemnity from Interstate and CNA.

       4.      Judgment awarding Arch its costs and pre-judgment and post-judgment interest in

               the maximum as allowed by law.

       5.      Such other and further relief as the Court deems just and equitable under the

               circumstances.

                                                     Respectfully submitted,

                                                     /s/ Travis M. Brown
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                                                     COMPANY, INDIVIDUALLY AND AS
                                                     SUBROGEE AND INDEMNITOR OF
                                                     LINBECK GROUP, LLC




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